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                                 United States District Court
                                Southern District of New York

Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

             Defendant.
______________________________/

  NON-REDACTED DECLARATION OF SIGRID S. McCAWLEY IN SUPPORT OF
 PLAINTIFF’S MOTION TO EXCEED PRESUMPTIVE TEN DEPOSITION LIMIT IN
   FEDERAL RULE OF CIVIL PROCEDURE 30(A)(2)(a)(ii), FILED UNDER SEAL

         I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

         1.    I am a partner with the law firm of Boies, Schiller & Flexner LLP and duly

 licensed to practice in Florida and before this Court pursuant to this Court’s September 29,

 2015 Order granting my Application to Appear Pro Hac Vice.

         2.    I respectfully submit this Declaration in support of Plaintiff’s Motion to Exceed

 Presumptive Ten Deposition Limit In Federal Rule of Civil Procedure 30(A)(2)(a)(ii), Filed

 Under Seal.

         3.    Attached hereto as Composite Exhibit 1, is a true and correct copy of the May 17,

 2016 Email Correspondence from Sigrid McCawley.

         4.    Attached hereto as Exhibit 2, is a true and correct copy of the May 27, 2016

 Email Correspondence from Laura Menninger.

         5.    Attached hereto as Exhibit 3, is a true and correct copy of the Notice of Service
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and Subpoena to Juan Alessi.

          6.    Attached hereto as Exhibit 4, is a true and correct copy of the May 26, 2016

Correspondence from Sigrid McCawley.

          7.    Attached hereto as Exhibit 5, is a true and correct copy of the May 18, 2016

Deposition Transcript of Johanna Sjoberg.

          8.    Attached hereto as Composite Exhibit 6, is a true and correct copy of the April

22, 2016 Deposition Transcript of Ghislaine Maxwell.

          9.    Attached hereto as Exhibit 7, is a true and correct copy of the Palm Beach Police

Report.

          10.   Attached hereto as Exhibit 8, is a true and correct copy of the November 21, 2005

Sworn Statement of Juan Alessi.

          11.   Attached hereto as Exhibit 9, is a true and correct copy of the May 4, 2016 Email

Correspondence from Laura Menninger.


          I declare under penalty of perjury that the foregoing is true and correct.



                                                         /s/ Sigrid S. McCawley_________
                                                         Sigrid S. McCawley, Esq.
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Dated: May 27, 2016.

                                                          Respectfully Submitted,

                                                          BOIES, SCHILLER & FLEXNER LLP

                                                      By: /s/ Sigrid McCawley________________
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1
 This daytime business address is provided for identification and correspondence purposes only and is
not intended to imply institutional endorsement by the University of Utah for this private representation.
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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on May 27, 2016, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing

document is being served this day on the individuals identified below via transmission of

Notices of Electronic Filing generated by CM/ECF.


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                                                        /s/ Sigrid S. McCawley
                                                        Sigrid S. McCawley, Esq.
